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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                  Chief Judge Philip A. Brimmer

Civil Action No.:          19-cv-00667-PAB                       Date: March 19, 2019
Courtroom Deputy:          Patricia Glover                       Court Reporter: Janet Coppock

 Parties:                                                        Counsel:

 G.H. DANIELS III & ASSOCIATES, INC., (“GHD”),                   Christopher Pooley
 LANDSCAPE TECHNOLOGY GROUP, INC.,
 (“LTG”),
 BERICH MASONRY, MOUNTAIN DIVISION, INC.,
 (“BERICH MASONRY”), and
 ROCKY VALLEY CONTRACTORS, (“RVC”),

      Plaintiffs,

 v.

 ALEXANDER ACOSTA, SECRETARY OF THE U.S.                         Glen Girdharry
 DEPARTMENT OF LABOR,
 KIRSTJEN NIELSEN, SECRETARY OF THE U.S.
 DEPARTMENT OF HOMELAND SECURITY
 ("DHS"), and
 MIKE POMPEO, SECRETARY OF STATE,

      Defendants.


                                        COURTROOM MINUTES


MOTION HEARING

9:02 a.m.           Court in session.

Appearances of counsel.

The Court addresses the request for Temporary Restraining Order (Doc. #2)

9:05 a.m.           Argument and offer of proof by Mr. Pooley.

9:49 a.m.           Argument and offer of proof by Mr. Girdharry.

10:19 a.m.          Rebuttal argument by Mr. Pooley.
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ORDERED: Plaintiffs’ Motion for Temporary Restraining Order [2] is DENIED. The
         remainder of the motion as to preliminary injunction remains pending.

The Court addresses setting the hearing on the Motion for Preliminary Injunction.

ORDERED: The parties will consult with the Court’s Judicial Assistant immediately following
         this hearing to schedule the hearing on the Preliminary Injunction portion of the
         Motion.

ORDERED: Plaintiff’s reply brief will be filed by March 29, 2019 and defendant’s sur-reply
         will be filed by April 5, 2019.

11:02 a.m.     Court in recess.

Hearing concluded.
Total in-court time:   01:00




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